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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                  CASE NO. 17-20268-CR-COOKE

  UNITED STATES OF AMERICA,

                                Plaintiff,
  Vs.

  ARARON LASSIN,
  Reg. No. 14706-104
                           Defendant.
  _______________________________________/

         ORDER GRANTING MOTION FOR REDUCTION OF SENTENCE
         PURSUANT TO FEDERAL RULE OF CRIMINAL PROCEDURE 35(b)

         THIS MATTER came before the Court upon Government’s Motion For Sentence

  Reduction Pursuant To Rule 35 of the Federal Rules Of Criminal Procedure (ECF No.39) on the

  above captioned case in order to reflect defendant’s substantial assistance in the prosecution of

  others. With the Court being fully advised of the premises, it is hereby

         ORDERED AND ADJUDGED as follows:

         1. The sentence in the Judgment in a Criminal Case imposed on November 2, 2017

  committing the defendant to the custody of the United States Bureau of Prisons for a term of 37

  months is hereby REDUCED to 22 months. This term consists of 13 months as to Count One

  and 9 months as to Count Four, to be served consecutively, followed by 3 years supervised

  release.

         2. All other remaining conditions in the Judgment in a Criminal Case, imposed on

  November 2, 2017 shall remain in full force and effect.

         DONE AND ORDERED at the United States Courthouse in Miami, Florida on August

  15, 2018.
